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25/05/00

Our file: 1~186/00

David Strachrnan, Esq.
Skolnik, Mc Intyre 86 Tate Ltd.
321 S. Main St., Ste 400
providence, Rhode Island

USA

Dear Sir,

Subject: Your request for Service of Documents
Dated : 15th March 2000

Please find attached the documents concerning your request.

Sincerely ,,,

Bri'an `Zietman
Senior Coordinator,
Legal Assistance to Foreign Countries

 

22 Kanfei Nesherim St., ]erusalern 95464, P.O.B. 34142
Tel: XX-XXXXXXX, Fax: 02~6556846

 

